 

 

bi i bo eee |

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 1 of 40

Exhibit C

 
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 2 of 40

Chapter 1 of Title 40 of the Rules of the City of New York is amended to read as follows:

CONTENTS

Section 1-01
’ Section 1-02
Section 1-03
Section 1-04
Section 1-05
Section 1-06
Section 1-07
Section 1-08
Section 1-09
Section 1-10
Section 1-11
Section 1-12
Section 1-13
Section 1-14
Section 1-15

CHAPTER 1
CORRECTIONAL FACILITIES

Non-discriminatory Treatment .........0..... 0c cece c ccc eeeeereee eee e eee eteeeea
Classification of PriSONers 2.0.0... ccc eee eeee cece eee ee teeta eee cree
Personal HyQie@ne...........0....ccccceceeeecerereeeeeeeeeeeeeeeeeeeeeeeter aaa eeaeeeesene
© ))(o1k01k0)'10 | 510
LOCK-IN. 2... cee eee e cece eee cee e nett eeatee sneer ees bec de eeu eeeeneenees
RECrEAtiON oo... cee ceceeccee ceeeeeenee ceeeeeeee Caneetenee ceeteneses ean eeeees
RENGION 0... ce ceceeeeee ceeeecneee centteene Geeeenecee ceeeeeetan anaeeeeees
Access to Courts and Legal Services ..............cccceeeeeteeeeeeeeeeeeeeeees
VISHING. 2.00. eee ceeceree ee ceeeeeeeee Gennes Geeeereee feegeeeene cea eee
Telephone Calls «2.0.0.0... cece ceeeeeceee censeeeee ceeeteneee videeeeeee ceeneeeees
Correspondence............ .. boeeeeee ceeeeeaeee ceeeeeees veveeeeeee sesveeeeadeeeeneees
PaCckaGeS . ......ccccccccceeee ceceeeeers ceeteeeeee ceeeeseee Geeneneee Gaeteeeeeeeaenee ens
PUDIICATIONS «oo... ccs ceccccceee ceneeeeeee ceeeeeeee ceeeeaaaee peeteeeeee teeeeeeeea
Access to Media............ cece cecceeeeee ceeee nee ceeeeeneee ceeeeneaee teeeeeneea
VariaNnCeS | oo... vesettneee bcedeeee Guueecsee seceeeenen Ceeeeeeateeeeenenes

§ 1-01 Non-discriminatory Treatment.

(a) Policy.

Prisoners shall not be subject to discriminatory treatment based upon race,
religion, nationality, sex, sexual orientation, gender, disability, age or political
belief. The term “prisoner” means any person in the custody of the New York
City Department of Correction (“the Department’). “Detainee” means any
prisoner awaiting disposition of a criminal charge. “Sentenced prisoner” means
any prisoner serving a sentence of up to one year in Department custody.

(b) Equal protection.

(1)

(2)

(3)

Prisoners shall be afforded equal opportunity in all decisions including, but
not limited to, work and housing assignments, classification, and
discipline.

Prisoners shall be afforded equal protection and equal opportunity in being
considered for any available programs including, but not limited to
educational, religious, vocational, recreational, or temporary release.

Each facility shall provide programs, cultural activities and foods suitable
for those racial and ethnic groups with significant representation in the
prisoner population, including Black and Hispanic prisoners.

1

 

 
 

 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 3 of 40

(4)

Nothing contained in this section shall prevent the Department from using
rational criteria for a particular program or opportunity.

(c) Hispanic prisoners and staff.

(1)

(2)

(3)

(4)

(S)

Each facility shall have a sufficient number of employees and
volunteers fluent in the Spanish language to assist Hispanic prisoners in
understanding, and participating, in the various facility programs and
activities, including use of the law library and parole applications.

Bilingual prisoners in each housing unit should be used to assist
Spanish-speaking prisoners in the unit and in the law library.

Communications on any significant matter from correctional personnel to

prisoners, including, but not limited to, orientation, legal research, facility

programs, medical procedures, minimum standards and disciplinary code
shali be in Spanish and English.

Communications on any significant matter from correctional personnel to
outside individuals or organizations regularly involved with New York City
prisoners shall be in Spanish and English.

Spanish-speaking prisoners shall be afforded opportunities to read
publications and newspapers printed in Spanish, and to hear radio and
television programs broadcast in Spanish. Facility libraries shall contain
Spanish language books and materials.

(d) Different languages.

(1)

(2)

(3)

Prisoners shall be permitted to communicate with other prisoners and with
persons outside the facility by mail, telephone, or in person, in any
language, and may read and receive written materials in any

language.

Provisions shall be made by the Department to assist in assuring prompt
access to translation services for non-English speaking prisoners.

Procedures shall be employed to ensure that non-English speaking
prisoners understand all written and oral communications from facility
staff members, including but not limited to, orientation procedures, health
services procedures, facility rules and disciplinary proceedings.

§ 1-02 Classification of Prisoners.

(a) Policy.

Consistent with the requirements of this section the Department shall employ a
classification system for prisoners.
 

 

| :

“Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 4 of 40

(b)

(c)

(d)

(e)

Categories.

(1)

(2)

Prisoners serving sentence shall be housed separate and apart from
prisoners awaiting trial or examination, except when housed in:

(i) punitive segregation;

(ii) medical housing areas;

(iii) | mental health centers and mental observation cell housing areas;
(iv) close custody housing areas; and

(v) nursery.

Within the categories set forth in paragraph (1), the following groupings
shall be housed separate and apart:

(i) male adults, ages 19 and over;

(ii) male minors, ages 16 to 18 inclusive;
(iii) | female adults, ages 19: and over;

(iv) | female minors, ages 16 to 18 inclusive.

Civil prisoners.

1)

(2)

Prisoners who are not directly involved in the criminal process as
detainees or serving sentence and are confined for other reasons
including civil process, civil contempt or material witness, shall be housed
separate and apart from other prisoners and, if possible, located in a
different structure or wing. They must be afforded at least as many of the
rights, privileges and opportunities available to other prisoners.

Within this category, the following groupings shall be housed separate and
apart:

0) male adults, ages 19 and over;

(ii) male minors, ages 16 to 18 inclusive;
(iii) | female adults, ages 19 and over;

(iv) | female minors, ages 16 to 18 inclusive.

Limited commingling.

Nothing contained in this section shall prevent prisoners in different categories or
groupings from being in the same area for a specific purpose, including, but not
limited to, entertainment, classes, contact visits or medical necessity.

Security classification.

(1)

(2)

The Department shall use a system of classification to group prisoners
according to the minimum degree of surveillance and security required.

The system of classification shall meet the following requirements:

 
   
     

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 5 of 40

(i) it shall be in writing and shall specify the basic objectives, the
classification categories, the variables and criteria used, the
procedures used and the specific consequences to the prisoner of
placement in each category.

‘) it shall include at least two classification categories.

(iii) It shall provide for an initial classification upon entrance into the
corrections system. Such classification shall take into account only
relevant factual information about the prisoner, capable of
verification.

(iv) _ It shall provide for involvement of the prisoner at every stage with
adequate due process.

(v) Prisoners placed in the most restrictive security status shall only be
denied those rights, privileges and opportunities that are directly
related to their status and which cannot be provided to them at a
different time or place than provided to other prisoners.

(vi) It shall provide mechanisms for review of prisoners placed in the
most restrictive security status at intervals not to exceed four weeks
for detainees and eight weeks for sentenced prisoners.

§ 1-03 Personal Hygiene.
(a) Policy.

Each facility shall provide for and maintain reasonable standards of prisoner
personal hygiene.

(b) Showers.

(1) Showers with hot and cold water shail be made available to all prisoners
daily. The hot water temperature norms of the American Public Health
Association shall be followed. Consistent with facility health requirements,
prisoners may be required to shower periodically. The shower area shall
be cleaned at least once each week.

(2) Notwithstanding paragraph (1) of this subdivision, prisoners confined in
punitive segregation may be denied daily access to showers for infraction
convictions for misconduct on the way to, from or during a shower, as
follows: for a first offense, access to showers may be reduced to five days
per week for two consecutive weeks; for subsequent convictions during
the same punitive segregation confinement, as follows: for a second
conviction, access to showers may be reduced to three days per week for
up to three consecutive weeks; for a third conviction, to three days per
week for up to four consecutive weeks; and for a fourth conviction, to three

4
 

jos

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 6 of 40

(c)

(d)

(e)

days per week for the duration of the current punitive segregation
confinement. The provisions of this paragraph (2) shall not apply to
prisoners making court appearances, during times of hot weather when
access to cool showers protects prisoners’ health, and to female prisoners
who are menstruating.

Shaving.

(1)

(2)

All prisoners shall be permitted to shave daily. Hot water sufficient to
enable prisoners to shave with care and comfort shall be provided. Upon
request, necessary shaving items shall be provided at Department
expense and shall be maintained in a safe and sanitary condition.

Notwithstanding paragraph (1) of this subdivision, prisoners confined in
punitive segregation may be denied access to daily shaves, except for
court appearances, for infraction convictions for misconduct on the way to,
from or during a shower, in accordance with the schedule in paragraph

(b)(2) of this section.

Haircuts.

(1)

(2)

Hair shall be cut by persons capable of using barber tools. Such persons
include, but are not limited to:

(i) licensed barbers;
(ii) facility staff members; and
(iii) prisoners.

Barber tools shall be maintained in a safe, sanitary condition.

Hair styles.

(1)

Consistent with the requirements of this subdivision, prisoners shall be
permitted to adopt hair styles, including facial hair styles, of any length.

(i) Prisoners assigned to work in areas where food is stored, prepared,
served or otherwise handled may be required to wear a hair net or
other head covering.

(ii) The Department may determine that certain work assignments
constitute a safety hazard to those prisoners with long hair or
beards. Prisoners unwilling or unable to conform to the safety
requirements of such work assignment shail be assigned
elsewhere.

(iii) |§ Should examination of a prisoner's hair reveal the presence of
vermin, medical treatment should be initiated immediately. The
cutting of a prisoner's hair is permissible under these circumstances
 

j se J

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 7 of 40

pursuant to a physician's written order and under the direct
supervision of the physician.

 

(2) | When the growth or removal of a prisoner's hair, including facial hair,
creates an identification problem, a new photograph may be taken of that
prisoner.

(f) Personal health care items.

(1) Upon admission to a facility, all prisoners shall be provided at Department
expense with an issue of personal health care items, including but not
limited to:

(i) soap;

(ii) toothbrush;

(iii) | toothpaste or tooth powder;

(iv) — drinking cup;

(v) toilet paper;

(vi) towel; and

(vii) aluminum or plastic mirror, unless this is permanently available in
the housing area.

(2) in addition to the items listed in paragraph (1) of this subdivision, all
women prisoners shall be provided at Department expense with
necessary hygiene items.

(3) Towels shall be exchanged at least once per week at Department
expense. All other personal health care items issued pursuant to
paragraphs (1) and (2) of this subdivision shall be replenished or replaced
as needed at Department expense.

(g) Clothing.

(1) Prisoners shall be entitled to wear clothing provided by the Department as
needed. Such clothing shall be laundered and repaired at Department
expense and shail include, but is not limited to:

(i) one shirt;

(ti) one pair of pants;

(iii) two sets of undergarments;

(iv) . two pairs of socks;

(v) one pair of suitable footwear; and

(vi) one sweater or sweatshirt to be issued during cold weather.

(2) |The Department may require sentenced prisoners to wear facility clothing.
Upon establishment and operation of clothing services described in
paragraph (h)(2) of this section, the Department may require all prisoners
to wear seasonally appropriate facility clothing, except that for trial
appearances, prisoners may wear clothing items described in paragraph

6
 

(h)

(3)

(4)

(S)

(6)

 

|

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 8 of 40

(3) of this subdivision. The facility clothing that is provided for detainees
shall be readily distinguishable from that provided for sentenced prisoners.
Facility clothing shall be provided, laundered and repaired at Department
expense.

Until the Department establishes and operates clothing services described
in paragraph (h)(2) of this section, detainees shall be permitted to wear
non-facility clothing. Such clothing may include items:

(i) worn by the prisoner upon admission to the facility; and

(ii) received after admission from any source. This clothing, including
shoes, may be new or used.

(iii) | Detainees shall be permitted to wear all items of clothing that
are generally acceptable in public and that do not constitute a
threat to the safety of a facility.

Prisoners engaged in work assignment or outdoor recreation requiring
special clothing shall be provided with such clothing at Department
expense.

Upon establishment and operation of clothing services described in
paragraph (h)(2) of this section and requiring all prisoners to wear facility
clothing, the Department shall provide to all prisoners upon admission at
least the following:

(i) two shirts;

(ii) one pair of pants;

(iii) four sets of undergarments;

(iv) four pairs of socks;

(v) one pair of suitable footwear; and

(vi) one sweater or sweatshirt to be issued during cold weather.

Upon requiring all prisoners to wear facility clothing, the Department shall
provide prisoners with a clean exchange of such clothing every four days.

Clothing services.

(1)

(2)

Laundry service sufficient to provide prisoners with a clean change of
personal or facility clothing at least twice per week shall be provided at
Department expense.

Prior to requiring detainees to wear facility clothing, the Department shall
establish and operate:

(i) laundry service sufficient to fulfill the requirements of paragraphs
(g)(5) and (6) of this section at Department expense, and
 

(i)

(j)

[i

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 9 of 40

(ii) secure storage facilities from which prisoners’ personal clothing can
be retrieved promptly and cleaned for trial court appearances, and
retrieved promptly upon prisoners’ discharge from custody.

Bedding.

(1)

(2)

(3)

(4)

(5)

Upon admission to a facility, all prisoners shall be provided at Department
expense with an issue of bedding, including but not limited to:

(i) two sheets;

(ii) one pillow;

(iii) one pillow case;

(iv) one mattress;

(v) one mattress cover; and

(vi) sufficient blankets to provide comfort and warmth.

Prior to being issued, all bedding items shall be checked for damage and
repaired or cleaned, if necessary.

Pillowcases and sheets shall be cleaned at least once each week.
Blankets shall be cleaned at least once every three months. Mattresses
shall be cleaned at least once every six months.

Mattresses must be constructed of fire retardant materials. Mattress
covers must be constructed of materials both water resistant and easily
sanitized.

All items of clothing and bedding stored within the facility shall be
maintained in a safe and sanitary manner.

Housing areas.

(1)

(2)

3)

Prisoners shall be provided at Department expense with a supply of
brooms, mops, soap powder, disinfectant, and other materials sufficient to
properly clean and maintain housing areas, except when contraindicated
by medical staff. Under such circumstance, the Department shall make
other arrangements for cleaning these areas.

The Department shall provide for regular cleaning of all housing areas,
including cells, tiers, dayrooms, and windows, and for the extermination of
rodents and vermin in all housing areas.

All housing areas shall contain at least the following fixtures in
sufficient supply to meet reasonable standards of prisoner personal
hygiene:

(i) sink with hot and cold water;
(ii) flush toilet; and
(iii) | shower with hot and cold water.

8

 

 

 
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 10 of 40

§ 1-04 Overcrowding.

(a)

(b)

©)

Policy.

Prisoners shall not be housed in cells, rooms or dormitories unless adequate
space and furnishings are provided.

Single occupancy.

(1) Acell or room designed or rated for single occupancy shall house only
one prisoner.

(2) Each single cell shall contain a flush toilet, a wash basin with
drinking water, a single bed and a closeable storage container for
personal property.

(3) Asingle-cell housing area shall contain table or desk space for each
occupant that is available for use at least 12 hours per day.

Multiple occupancy.

(1) A multiple-occupancy area shall contain for each occupant a single bed, a
closeable storage container for personal property, and a table or desk
space that is available for use at least 12 hours. per day.

(2) Multiple-occupancy areas shall provide a minimum of 60 square feet of
floor space per person in the sleeping area.

(3) A multiple-occupancy area shall provide a minimum of one operable toilet
and shower for every 8 prisoners and one operable sink for every 10
prisoners. Toilets shall be accessible for use without staff assistance 24
‘hours per day.

(4) A multiple-occupancy area shall provide a dayroom space that is
physically and acoustically separate from but immediately adjacent and
accessible to the sleeping area, except for cells designed or rated for two
or more occupants, opened on or prior to January 1, 2000.

(5) A multiple occupancy area shail house no more than:
(i) 50 Detainees

(ii) 60 Sentenced Prisoners. This subparagraph shall be applicable to
all multi-occupancy areas opened after July 1, 1985.
 

 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 11 of 40

§ 1-05 Lock-in.

(a)

(b)

(c)

(d)

Policy.

The time spent by prisoners confined to their cells should be kept to a minimum
and required only when necessary for the safety and security of the facility. The
provisions of this section are inapplicable to prisoners confined in punitive
segregation or prisoners confined for medical reasons in the contagious disease
units.

Involuntary lock-in.

No prisoner shail be required to remain confined to his or her cell except for the
following purposes:

(1) At night for count or sleep, not to exceed eight hours in any 24-hour
period;

(2) During the day for count or required facility business that can only be
carried out while prisoners are locked in, not to exceed two hours in any
24-hour period. This time may be extended if necessary to complete an
off count.

Optional lock-in.

(1) Prisoners shall have the option of being locked in their ceils during lock-
out periods. Prisoners choosing to lock in at the beginning of a lock-out
period of two hours or more shall be locked out upon request after one-
half of the period. At this time, prisoners who have been locked out shall
be locked in upon request.

(2) | The Department may deny optional lock-in to a prisoner in mental
observation status if a psychiatrist or psychologist determines in writing
that optional lock-in poses a serious threat to the safety of that prisoner. A
decision to deny optional lock-in must be reviewed every ten days,
including a written statement of findings, by a psychiatrist or psychologist.
Decisions made by a psychiatrist or psychologist pursuant to this
subdivision must be based on personal consultation with the prisoner.

Schedule.
Each facility shall maintain and distribute to all prisoners or post in each housing
area its lock-out schedule, including the time during each lock-out period when

prisoners may exercise the options provided by paragraph (c)(1) of this
subdivision.

10

 
 

 

|

| i

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 12 of 40 _

§ 1-06 Recreation.
(a) Policy.

Recreation is essential to good health and contributes to reducing tensions within
a facility. Prisoners shall be provided with adequate indoor and outdoor
recreational opportunities.

(b) Recreation areas.

Indoor and outdoor recreation areas of sufficient size to meet the requirements of
this section shall be established and maintained by each facility. An outdoor
recreation area must allow for direct access to sunlight and air.

(c) Recreation schedule.

Recreation periods shall be at least one hour; only time spent at the recreation
area shall count toward the hour. Recreation shall be available seven days per
week in the outdoor recreation area, except in inclement weather when the
indoor recreation area shall be used.

(d) Recreation equipment.

(1) The Department shall make available to prisoners an adequate amount of
equipment during the recreation period.

- (2) Upon request each facility shall provide prisoners with appropriate outer
garments in satisfactory condition, including coat, hat, and gloves, when
they participate in outdoor recreation during cold or wet weather
conditions.

(e) Recreation within housing area.

(1) Prisoners shall be permitted to engage in recreation activities within cell
corridors and tiers, dayrooms and individual housing units. Such
recreation may include but is not limited to:

(i) table games;
(ii) exercise programs; and
(iii) | arts and crafts activities.

(2) Recreation taking place within cell corridors and tiers, dayrooms and
individual housing units shall supplement, but not fulfill, the requirements
of subdivision (c) of this section.

(f) Recreation for prisoners in the contagious disease units.

The Department shall not be required to provide an indoor recreation area for

11
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 13 of 40

use during inclement weather by prisoners confined for medical reasons in the
contagious disease units.

(g) Recreation for prisoners in segregation.

Prisoners confined in close custody or punitive segregation shall be permitted
recreation in accordance with the provisions of subdivision (c) of this section.

(h) Limitation on access to recreation.

A prisoner's access to recreation may be denied for up to five days only upon

conviction of an infraction for misconduct on the way to, from or during
recreation.

§ 1-07 Religion.

(a)

(b)

(c)

Policy.

Prisoners have an unrestricted right to hold any religious belief, and to be a
member of any religious group or organization, as well as to refrain from the
exercise of any religious beliefs. A prisoner may change his or her religious
affiliation.

Exercise of religious beliefs.

(1)

(2)

(3)

Prisoners are entitled to exercise their religious beliefs in any manner that
does not constitute a clear and present danger to the safety or security of
a facility.

No employee or agent of the Department or of any voluntary program shall
be permitted to proselytize or seek to convert any prisoner, nor shall any
prisoner be compelled to exercise or be dissuaded from exercising any
religious belief.

Equal status and protection shall be afforded all prisoners in the exercise
of their religious beliefs except when such exercise is unduly disruptive of
facility routine.

Congregate religious activities.

(1)

(2)

Consistent with the requirements of subdivision (a) of this section, all
prisoners shall be permitted to congregate for the purpose of religious
worship and other religious activities, except for prisoners confined for
medical reasons in the contagious disease units.

Each facility shall provide all prisoners access to an appropriate area for
congregate religious worship and other religious activities. Consistent with
the requirements of paragraph (b)(1) of this section, this area shall be

12
 

~ Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13

(d)

(e)

(f)

(g)

(h)

(i)

 

ae i

Page 14 of 40

made available to prisoners in accordance with the practice of their
religion.

Religious advisors.

(1) As used in this section, the term "religious advisor" means a person who
has received endorsement from the relevant religious authority.

(2) Religious advisors shall be permitted to conduct congregate religious
activities permitted pursuant to subdivision (c) of this section. When no
religious advisor is available, a member of a prisoner religious group may
be permitted to conduct congregate religious activities.

(3) Consistent with the requirements of paragraph (b)(1) of this section,
prisoners shall be permitted confidential consultation with their religious
advisors during lock-out periods.

Celebration of religious holidays or festivals.

Consistent with the requirements of paragraph (b)(1) of this section, prisoners
shall be permitted to celebrate religious holidays or festivals on an individual or
congregate basis.

Religious dietary laws.

Prisoners are entitled to the reasonable observance of dietary laws or fasts
established by their religion. Each facility shall provide prisoners with food items
sufficient to meet such religious dietary laws.

Religious articles.

Consistent with the requirements of paragraph (b)(1) of this section, prisoners
shall be entitled to wear and to possess religious medals or other religious
articles, including clothing and hats.

Exercise of religious beliefs by prisoners in segregation.

(1) Prisoners confined in administrative or punitive segregation shall not be
prohibited from exercising their religious beliefs, including the
opportunities provided by subdivisions (d) through (g) of this section.

(2) Congregate religious activities by prisoners in close custody or punitive
segregation shall be provided for by permitting such prisoners to attend

congregate religious activities with appropriate security either with each
other or with other prisoners.

Recognition of a religious group or organization.

(1) A list shall be maintained of all religious groups and organizations

13

 
 

(2)

(3)

(4)

(S)

(6)

(7)

Case 1:11-cv-04952-PKC-KNE Document 145-3 Filed 05/03/13 Page 15 of 40

recognized by the Department. This list shall be in Spanish and English,
and shall be distributed to all incoming prisoners or posted in each
housing area.

Each facility shall maintain a list of the religious advisor, if any, for each
religious group and organization, and the time and place for the
congregate service of each religion. This list shall be in Spanish and
English, and shall be distributed to all incoming prisoners or posted in
each housing area.

Prisoner requests to exercise the beliefs of a religious group or
organization not previously recognized shall be made to the Department.

In determining requests made pursuant to paragraph (3) of this
subdivision, the following factors among others shall be considered as
indicating a religious foundation for the belief:

(i) whether there is substantial literature supporting the belief as
related to religious principle;

(ii) whether there is formal, organized worship by a recognizable and
cohesive group sharing the belief;

(iii) whether there is an informal association of persons who share
common ethical, moral, or intellectual views supporting the belief;
or

(iv) | whether the belief is deeply and sincerely held by the prisoner.
In determining requests made pursuant to paragraph (3) of this
subdivision, the following factors shall not be considered as indicating a
lack of religious foundation for the belief:

(i) the belief is held by a small number of individuais;

(ii) the belief is of recent origin;

(iii) the belief is not based on the concept of a Supreme Being or its
equivalent; or

(iv) the belief is unpopular or controversial.

In determining requests made pursuant to paragraph (3) of this
subdivision, prisoners shall be permitted to present evidence indicating a
religious foundation for the belief.

The procedure outlined in paragraphs (1) and (3) of this subdivision shall
apply when a prisoner request made pursuant to paragraph (i)(3) of this
subdivision is denied.

14

 

 
 

j 1
| |

‘ FUR LST os i ned eee PREP SEsigia dy Shel | “ |
Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 16 of 40

(ji) Limitations on the exercise of religious beliefs.

(1) Any determination to limit the exercise of the religious beliefs of any
prisoner shall be made in writing, and shall state the specific facts and
reasons underlying such determination. A copy of this determination,
including the appeal procedure, shall be sent to the Board and to any
person affected by the determination within 24 hours of the determination.

(2) This determination must be based on specific acts committed by the
prisoner during the exercise of his or her religion that demonstrate a
serious and immediate threat to the safety and security of the facility.
Prior to any determination, the prisoner must be provided with written
notification of the specific charges and the names and statements of the ~
charging parties, and be afforded an opportunity to respond.

(3) Any person affected by a determination made pursuant to this subdivision
may appeal such determination to the Board.

(i) The person affected by the determination shall give notice in writing
to the Board and the Department of his or her intent to appeal the
determination.

(ii) The Department and any person affected by the determination may
submit to the Board for its consideration any relevant material in
addition to the written determination.

(iii) | The Board or its designee shall issue a written decision upon the
appeal within 14 business days after receiving notice of the
requested review.

 

§ 1-08 Access to Courts and Legal Services.
(a) Policy.

Prisoners are entitled to access to courts, attorneys, legal assistants and legal
materials.

(b) Judicial and administrative proceedings.

 

(1) Prisoners shall not be restricted in their communications with courts or
administrative agencies pertaining to either criminal or civil proceedings
except pursuant to a court order.

(2) Timely transportation shall be provided to prisoners scheduled to appear
before courts or administrative agencies. Vehicles used to transport
prisoners must meet all applicable safety and inspection requirements and
provide adequate ventilation, lighting and comfort.

15
 

(c)

(d)

(e)

oi

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 17 of 40

Access to counsel.

(1)

(2)

(3)

(4)

(5)

Prisoners shall not be restricted in their communication with attorneys.
The fact that a prisoner is represented by one attorney shall not be
grounds for preventing him or her from communicating with other
attorneys. Any properly identified attorney may visit any prisoner with the
prisoner's consent.

(i) An attorney may be required to present identification to a
designated official at the central office of the Department in order to
obtain a facility pass. This pass shall permit the attorney to visit any
prisoner in the custody of the Department.

(ii) The Department only may require such identification as is normally
possessed by an attorney.

The Department may limit visits to any attorney of record, or an attorney
with a court notice for prisoners undergoing examination for competency
pursuant to court order.

Visits between prisoners and attorneys shall be kept confidential and
protected, in accordance with provisions of § 1-09. Legal visits shall be
permitted at least eight hours per day between 8 a.m. and 8 p.m. During
business days, four of those hours shall be 8 a.m. to 10 a.m., and 6 p.m.
to 8 p.m. The Department shall maintain and post the schedule of legal
visiting hours at each facility.

Mail between prisoners and attorneys shall not be delayed, read, or
interfered with in any manner, except as provided in § 1-11.

Telephone communications between prisoners and attorneys shall be kept
confidential and protected, in accordance with the provisions of § 1-10.

Access to co-defendants.

Upon reasonable request, regular visits shall be permitted between a detainee
and all of his or her co-defendants who consent to such visits. If any of the co-
defendants are incarcerated, the Department may require that an attorney of
record be present and teleconferencing shall be used, if available.

Attorney assistants.

(1)

Law students, legal paraprofessionals, and other attorney assistants
working under the supervision of an attorney representing a prisoner shall
be permitted to communicate with prisoners by mail, telephone and
personal visits, to the same extent and under the same conditions that the
attorney may do so for the purpose of representing the prisoner. Law
students, legal paraprofessionals and other attorney assistants working

16
 

(f)

i

(3)

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 18 of 40

under the supervision of an attorney contacted by a prisoner shall be
permitted to communicate with that prisoner by mail, telephone, or
personal visits to the same extent and under the same conditions that the
attorney may do so.

An attorney assistant may be required to present a letter of identification
from the attorney to a designated official at the central office of the
Department in order to obtain a facility pass. A pass shall not be denied
based upon any of the reasons listed in § 1-09 (h)(1).

The pass shall permit the assistant to perform the functions listed in
subdivision (e) of this section. It may be revoked if specific acts committed
by the legal assistant demonstrate his or her threat to the safety and
security of a facility. This determination must be made pursuant to the
procedural requirements of paragraphs (2), (4) and (5) of subdivision (h) of
§1-09.

Law libraries.

Each facility shall maintain a properly equipped and staffed law library.

(1)

(2)

The law library shall be located in a separate area sufficiently free of noise
and activity and with sufficient space and lighting to permit sustained
research.

Each law library shall be open for a minimum of five days per week
including at least one weekend day. On each day a law library is open:

(i) in facilities with more than 600 prisoners, each law library shall be
operated for a minimum of ten hours, of which at least eight shall
be during lock-out hours;

(it) in facilities with 600 or fewer prisoners, each law library shall be
operated for a minimum of eight and a half hours, of which at least
six and a half shall be during lock-out hours;

(iii) in all facilities, the law library shall be operated for at least three
hours between 6 p.m. and 10 p.m.; and

(iv) the law library will be kept open for prisoners’ use on all holidays
which fall on regular law library days except New Year's Day, July
4" Thanksgiving, and Christmas. The law library may be closed
on holidays other than those specified provided that law library
services are provided on either of the two days of the same week
the law library is usually closed. On holidays on which the law
library is kept open, it shall operate for a minimum of eight hours.
No changes to law library schedules shall be made without written
notice to the Board of Correction, and shall be received at least five
business days before the planned change(s) is to be implemented.

17

 
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 19 of 40

(9)

(3)

(4)

(S)

(6)

(7)

(8)

The law library schedule shall be arranged to provide access to prisoners
during times of the day when other activities such as recreation,
commissary, meals, school, sick call, etc., are not scheduled. Where such
considerations cannot be made, prisoners shall be afforded another
opportunity to attend the law library at a later time during the day.

Each prisoner shall be granted access to the law library for a period of at
least two hours per day on each day the law library is open. Upon request,
extra time may be provided as needed, space and time permitting. In
providing extra time, prisoners who have an immediate need for additional
time, such as prisoners on trial and those with an impending court
deadline shall be granted preference.

Notwithstanding the provisions of paragraph (f)(4), prisoners housed for
medical reasons in the contagious disease units may be denied access to
the law library. An alternative method of access to legal materials shall be
instituted to permit effective legal research.

The law library hours for prisoners in punitive segregation may be
reduced or eliminated, provided that an alternative method of access to
legal materials is instituted to permit effective legal research.

Legal research classes for general population prisoners shall be
conducted at each facility on at least a quarterly basis. Legal
research training materials shall be made available upon request to
prisoners in special housing.

The Department shall report annually to the Board detailing the resources
available at the law library at each facility, including a list of titles and
dates of all law books and periodicals and the number, qualifications and
hours of English and Spanish-speaking legal assistants.

Legal documents and supplies.

(1)

(2)

(3)

Each law library shall contain necessary research and reference materials
which shall be kept properly updated and supplemented, and shali be
replaced without undue delay when materials are missing or damaged.

Prisoners shall have reasonable access to typewriters, dedicated word
processors, and photocopiers for the purpose of preparing legal
documents. A sufficient number of operable typewriters, dedicated word
processors, and photocopy machines will be provided for prisoner use.

Legal clerical supplies, including pens, legal paper and pads shall be

made available for purchase by prisoners. Such legal clerical supplies
shall be provided to indigent prisoners at Department expense.

18
 

Case 1:11

(h)

(i)

(j)

-Cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 20 of 40

(4) Unmarked legal forms which are commonly used by prisoners shall be
made available. Each prisoner shall be permitted to use or make copies of
such forms for his or her own use.

Law library staffing.

(1) During all hours of operation, each law library shall be staffed with trained
civilian legal coordinator(s) to assist prisoners with the preparation of legal
materials. Legal coordinator coverage shall be provided during extended
absences of the regularly assigned legal coordinator(s).

(2) Each law library shall be staffed with an adequate number of permanently
assigned correction officers knowledgeable of law library procedures.

(3) Spanish-speaking prisoners shall be provided assistance in use of the law

library by employees fluent in the Spanish language on an as needed
basis.

Number of legal documents and research materials.

(1)

(2)

Prisoners shall be permitted to purchase and receive law books and other
legal research materials from any source.

Reasonable regulations governing the keeping of materials in cells and
the searching of cells may be adopted, but under no circumstances may
prisoners’ legal documents, books, and papers be read or confiscated by
correctional personnel without a lawful warrant. Where the space in a cell
is limited, an alternative method of safely storing legal materials

elsewhere in the facility is required, provided that a prisoner shall have
regular access to these materials.

Limitation of access fo law library.

(1)

(2)

(3)

A prisoner may be removed from the law library if he or she disrupts the
orderly functioning of the law library or does not use the law library for its
intended purposes. A prisoner may be excluded from the law library for
more than the remainder of one law library period only for a disciplinary
infraction occurring within a law library.

Any determination to limit a prisoner's right of access to the law library
shall be made in writing and shall state the specific facts and reasons
underlying such determination. A copy of this determination, including the
appeal procedure, shall be sent to the Board and to any person affected
by the determination within 24 hours of the determination.

An alternative method of access to legal materials shall be instituted to
permit effective legal research for any prisoner excluded from the law
library. A legal coordinator shall visit any excluded prisoner to determine
his or her law library needs upon request.

19

 
 

 

fo .

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 21 of 40

(4) Any person affected by a determination made pursuant to subdivision (j)
may appeal such determination to the Board.

(i) The person affected by a determination shall give notice in writing
to the Board and to the Department of his or her intent to appeal
the determination.

) The Department and any person affected by the determination may
submit to the Board for its consideration any relevant material in
addition to the written determination.

(iii) | The Board or its designee shall issue a written decision upon the
appeal within five business days after receiving notice of the
requested review.

§ 1-09 Visiting.
(a) Policy.
Prisoners are entitled to receive personal visits of sufficient length and number.

(b) Visiting and waiting areas.

(1)  Avvisiting area of sufficient size to meet the requirements of this section
shall be established and maintained in each facility.

(2) The visiting area shall be designed so as to allow physical contact
between prisoners and their visitors as required by subdivision (f) of this
section.

 

(3) | The Department shall make every effort to minimize the waiting time prior
to a visit. Visitors shall not be required to wait outside a facility unless
adequate shelter is provided and the requirements of paragraph (b)(4) of
this section are met.

(4) All waiting and visiting areas shall provide for at least minimal comforts for
visitors, including but not limited to:

(i) sufficient seats for all visitors;

 

(ii) access to bathroom facilities and drinking water throughout the
waiting and visiting periods;

(iii) | access to vending machines for beverages and foodstuffs at some
point during the waiting or visiting period; and

20
 

pod

Case 1:11

(5)

| foona

-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 22 of 40

(iv) | access to a Spanish-speaking employee or volunteer at some point
during the waiting or visiting period. All visiting rules, regulations
and hours shall be clearly posted in English and Spanish in the
waiting and visiting areas at each facility.

The Department shall make every effort to utilize outdoor areas for visits
during the warm weather months.

(c) Visiting schedule.

(1)

(2)

(3)

(4)

(5)

(6)

Visiting hours may be varied to fit the schedules of individual facilities
but must meet the following minimum requirements for detainees:

(i) Monday through Friday. Visiting shall be permitted on at least three
days for at least three consecutive hours between 9 a.m. and 5
p.m. Visiting shall be permitted on at least two evenings for at least
three consecutive hours between 6 p.m. and 10 p.m.

(ii) Saturday and Sunday. Visiting shall be permitted on both days for
at least five consecutive hours between 9 a.m. and 8 p.m.

Visiting hours may be varied to fit the schedules of individual facilities but
must meet the following minimum requirements for sentenced prisoners:

(i) Monday through Friday. Visiting shall be permitted on at least one
evening for at least three consecutive hours between 6 p.m. and
10 p.m.

(ii) Saturday and Sunday. Visiting shall be permitted on both days for
at least five consecutive hours between 9 a.m. and 8 p.m.

The visiting schedule of each facility shall be available by contacting either
the central office of the Department or the facility.

Visits shall last at least one hour. This time period shall not begin until the
prisoner and visitor meet in the visiting room.

Sentenced prisoners are entitled to at least two visits per week with at
least one on an-evening or the weekend, as the sentenced prisoner
wishes. Detainees are entitled to at least three visits per week with at least
one on an evening or the weekend, as the detainee wishes. Visits by
properly identified persons providing services or assistance, including
lawyers, doctors, religious advisors, public officials, therapists, counselors
and media representatives, shall not count against this number.

There shall be no limit to the number of visits by a particular visitor or
category of visitors.

21

 
 

Case 1:11-cv-04952-

(d)

(e)

(7)

(8)

(9)

(10)

sepeeres | SOEs | | _ :
PKC-KNF Document 145-3 Filed 05/03/13 Page 23 of 40

In addition to the minimum number of visits required by paragraphs (1), (2)
and (5) of this subdivision, additional visitation shall be provided in cases
involving special necessity, including but not limited to, emergency
situations and situations involving lengthy travel time.

Prisoners shall be permitted to visit with at least three visitors at the same
time, with the maximum number to be determined by the facility.

Visitors shall be permitted to visit with at least two prisoners at the same
time, with the maximum number to be determined by the facility.

lf necessitated by lack of space, a facility may limit the total number of
persons in any group of visitors and prisoners to four. Such a limitation
shall be waived in cases involving special necessity, including but not

limited to, emergency situations and situations involving lengthy travel
time.

Initial visit.

(1)

(2)

Each detainee shall be entitled to receive a non-contact visit within 24
hours of his or her admission to the facility.

lf a visiting period scheduled pursuant to paragraph (c)(1) of this section is
not available within 24 hours after a detainee's admission, arrangements
shall be made to ensure that the initial visit required by this subdivision is
made available.

Visitor identification and registration.

(1)

(2)

Consistent with the requirements of this subdivision, any properly
identified person shall, with the prisoner's consent, be permitted to visit the
prisoner.

(i) Prior to a visit, a prisoner shall be informed of the identity of the
prospective visitor.

(il) A refusal by a prisoner to meet with a particular visitor shall not
affect the prisoner's right to meet with any other visitor during that
period, nor the prisoner's right to meet with the refused visitor
during subsequent periods.

Each visitor shall be required to enter in the facility visitors log:

(i) his or her name;
(ii) his or her address;
(iii) the date;

(iv) — the time of entry; .
(v) the name of the prisoner or prisoners to be visited; and
(vi) the time of exit.

22
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 24 of 40

 

(3) Any prospective visitor who is under 16 years of age shall be required to
enter, or have entered for him or her, in the facility visitors log:

(i) the information required by paragraph (2) of this subdivision;

(ii) his or her age; and

(iii) | the name, address, and telephone number of his or her parent or
legal guardian.

(4) The visitors log shall be confidential, and information contained therein
shall not be read by or revealed to non-Department staff except as
provided by the City Charter or pursuant to a specific request by an official
law enforcement agency. The Department shail maintain a record of all
such requests with detailed and complete descriptions.

(5) Prior to visiting a prisoner, a prospective visitor under 16 years of age may
be required to be accompanied by a person 18 years of age or older,
and to produce oral or written permission from a parent or legal
guardian approving such visit.

(6) | The Department may adopt alternative procedures for visiting by persons
under 16 years of age. Such procedures must be consistent with the
policy of paragraph (e) (5) of this subdivision, and shall be submitted to
the Board for approval.

(f) Contact visits.

Physical contact shall be permitted between every prisoner and all of his or her
visitors throughout the visiting period, including holding hands, holding young
children, and kissing. The provisions of this subdivision are inapplicable to
prisoners housed for medical reasons in the contagious disease units.

(g) Visiting security and supervision.

(1) All prisoners, prior and subsequent to each visit, may be searched solely
to ensure that they possess no contraband.

(2) All prospective visitors may be searched prior to a visit solely to ensure
that they possess no contraband.

(3) Any body search of a prospective visitor made pursuant to paragraph (2)
of this subdivision shall be conducted only through the use of electronic
detection devices. Nothing contained herein shall affect any authority
possessed by correctional personnel pursuant to statute.

(4) | Objects possessed by a prospective visitor, including but not limited to,
handbags or packages, may be searched or checked. Personal effects,
including wedding rings and religious medals and clothing, may be worn
by visitors during a visit. The Department may require a prospective visitor

23
 

Case

(h)

Cs)

(6)

 

1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 25 of 40

to secure in a lockable locker his or her personal property, including but
not limited to bags, outerwear and electronic devices. A visit may not be
delayed or denied because an operable, lockable locker is not available.

Supervision shall be provided during visits solely to ensure that the safety
or security of the facility is maintained.

Visits shall not be listened to or monitored unless a lawful warrant is
obtained, although visual supervision should be maintained.

Limitation on visiting rights.

(1)

(2)

(3)

Visiting rights shall not be denied, revoked, limited or interfered with based
upon a prisoner's or prospective visitor's:

(i) Sex;
(ii sexual orientation;
(iii) race;

(iv) age, except as otherwise provided in this section;
(v) nationality;

(vi) political beliefs;

(vil) religion;

(viii) criminal record;

(ix) | pending criminal or civil case;

(x) lack of family relationship;

(xi) | gender; or

(xii) disability.

The visiting rights of a prisoner with a particular visitor may be denied,
revoked or limited only when it is determined that the exercise of those
rights constitutes a serious threat to the safety or security of a facility,
provided that visiting rights with a particular visitor may be denied only if
revoking the right to contact visits would not suffice to reduce the serious
threat.

This determination must be based on specific acts committed by the visitor
during a prior visit to a facility that demonstrate his or her threat to the
safety and security of a facility, or on specific information received and
verified that the visitor plans to engage in acts during the next visit that will
be a threat to the safety or security of the facility. Prior to any
determination, the visitor must be provided with written notification of the
specific charges and the names and statements of the charging parties,
and be afforded an opportunity to respond. The name of an informant may
be withheld if necessary to protect his or her safety.

A prisoner's right to contact visits as provided in subdivision (f) of this

section may be denied, revoked, or limited only when it is determined that
such visits constitute a serious threat to the safety or security of a facility.
Should a determination be made to deny, revoke or limit a prisoner's right

24
 

(4)

(5)

i

Case 1:11-cv-04952-PKC-KNE Document 145-3 Filed 05/03/13 Page 26 of 40

to contact visits in the usual manner, alternative arrangements for —
affording the prisoner the requisite number of visits shall be made,
including, but not limited to, non-contact visits.

This determination must be based on specific acts committed by the
prisoner while in custody under the present charge or sentence that
demonstrate his or her threat to the safety and security of a facility, or on
specific information received and verified that the prisoner plans to engage
in acts during the next visit that will be a threat to the safety or security of
the facility. Prior to any determination, the prisoner must be provided with
written notification of the specific charges and the names and statements
of the charging parties, and be afforded an opportunity to respond. The
name of an informant may be withheld if necessary to protect his or her
safety.

Any determination to deny, revoke or limit a prisoner's visiting rights
pursuant to paragraphs (2) and (3) of this subdivision shall be in writing
and shall state the specific facts and reasons underlying such
determination. A copy of this determination, including the appeal
procedure, shall be sent to the Board and to any person affected by the
determination within 24 hours of the determination.

Any person affected by a determination made pursuant to paragraphs (2)
and (3) of this subdivision may appeal such determination to the Board.

(i) The person affected by the determination shall give notice in writing
to the Board and the Department of his or her intent to appeal the
determination.

(ii) The Department and any person affected by the determination may
submit to the Board for its consideration any relevant material in
addition to the written determination.

(iii) | The Board or its designee shall issue a written decision upon the
appeal within five business days after receiving notice of the
requested review.

§ 1-10 Telephone Calls.

(a)

(b)

Policy.

Prisoners are entitled to make periodic telephone calls. A sufficient number of

telephones to meet the requirements of this section shall be installed in the

housing areas of each facility.

Initial telephone call.

Upon admission to a facility, each detainee shall be permitted to make one

completed local telephone call at Department expense. Requests to make

25

 
 

Case 1:11-cv-04952-PKC-KNE Document 145-3

(c)

(d)

(e)

(f)

(g)

(h)

 

Filed 05/03/13 Page 27 of 40

additional telephone calls upon admission shall be decided by the facility. Long
distance telephone calls shall be made collect, although arrangements may be
made to permit the prisoner to bear the cost of such calls.

Detainee telephone calls.

Detainees shall be permitted to make a minimum of one telephone call each day.
Three calls each week shall be provided to indigent detainees at Department
expense if made within New York City. Long distance telephone calls shall be
made collect or at the expense of the detainee.

Sentenced prisoner telephone calls.

Sentenced prisoners shall be permitted to make a minimum of two telephone
calls each week. These calls shall be provided to indigent sentenced prisoners at
Department expense if made within New York City. Long distance telephone
calls shall be made collect or at the expense of the sentenced prisoner.

Duration of telephone calls.
The Department shall allow telephone calls of at least six minutes in duration.
Scheduling of telephone calls.

In meeting the requirements of subdivisions (c) and (d) of this section, telephone
calls shall be permitted during all lock-out periods. Telephone calls of an
emergency nature shall be made at any reasonable time.

Incoming telephone calls.

(1) Aprisoner shall be permitted to receive incoming telephone calls of an
emergency nature, or a message shall be taken and the prisoner
permitted to return the call as soon as possible.

(2) A prisoner shall be permitted to receive incoming telephone calls from his
or her attorney of record in a pending civil or criminal proceeding, or a
message shall be taken and the prisoner permitted to return the call as
soon as possible. Such calls must pertain to the pending proceeding.

Supervision of telephone calls.

Upon implementation of appropriate procedures, prisoner telephone calls may be
listened to or monitored only when legally sufficient notice has been given to the
prisoners. Telephone calls to the Board of Correction, Inspector General and
other monitoring bodies, as well as to treating physicians and clinicians,
attorneys and clergy shall not be listened to or monitored.

26

 

 
 

 

Cas

(i)

(i)

e 1:11-cv-04952-PKC-KNFE Document 145-3 Filed 05/03/13 Page 28o0f40

Limitation on telephone rights.

(1)

The telephone rights of any prisoner may be limited only when it is
determined that the exercise of those rights constitutes a threat to the
safety or security of the facility or an abuse of written telephone
regulations previously known to the prisoner.

(i) This determination must be based on specific acts committed by
the prisoner during the exercise of telephone rights that
demonstrate such a threat or abuse. Prior to any determination, the
prisoner must be provided with written notification of specific
charges and the names and statemenis of the charging parties, and
be afforded an opportunity to respond. The name of an informant
may be withheld if necessary to protect his or her safety.

(it) Any determination to limit a prisoner's telephone rights shall be
made in writing and state specific facts and reasons underlying
such determination. A copy of this determination, including the
appeal procedure, shall be sent to the Board and to any person
affected by the determination within 24 hours of the determination.

(2) The telephone rights provided in subdivisions (c) and (qd) of this section
may be limited for prisoners in punitive segregation, provided that such
persons shall be permitted to make a minimum of one telephone call each
week.

Appeal.

Any person affected by a determination made pursuant to this subdivision may
appeal such determination to the Board.

(1)

(2)

(3)

The person affected by the determination shall give notice in writing to the
Board and the Department of his or her intent to appeal the determination.

The Department and any person affected by the determination may submit
to the Board for its consideration any relevant material in addition to the
written determination.

The Board or its designee shall issue a written decision upon the appeal
within five business days after receiving notice of the requested review.

§ 1-11 Correspondence.

(a)

Policy.

Prisoners are entitled to correspond with any person, except when there is a
reasonable belief that limitation is necessary to protect public safety or maintain
facility order and security. The Department shall establish appropriate

27

 
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 29 of 40

(b)

(c)

| | eyes

procedures to implement this policy. Correspondence shall not be deemed to
constitute a threat to safety and security of a facility solely because it criticizes a
facility, its staff, or the correctional system, or espouses unpopular ideas,
including ideas that facility staff deem not conducive to rehabilitation or
correctional treatment. The Department shall provide notice of this policy to all
prisoners.

Number and language.

(1) There shall be no restriction upon incoming or outgoing prisoner
correspondence based upon either the amount of correspondence sent or
received, or the language in which correspondence is written.

(2) If a prisoner is unable to read or write, he or she may receive assistance
with correspondence from other persons, including but not limited to,
facility employees and prisoners.

Outgoing correspondence.

(1) Each facility shall make available to indigent prisoners at Department
expense stationery and postage for all letters to attorneys, courts and
public officials, as well as two other letters each week.

(2) Each facility shall make available for purchase by prisoners both
stationery and postage.

(3) Outgoing prisoner correspondence shall bear the sender's name and
either the facility post office box or street address or the sender's home
address in the upper left hand corner of the envelope.

(4) Outgoing prisoner correspondence shall be sealed by the prisoner and
deposited in locked mail receptacles.

(5) All outgoing prisoner correspondence shall be forwarded to the United
States Postal Service at least once each business day.

(6) Outgoing prisoner non-privileged correspondence shall not be opened or
read except pursuant to a lawful search warrant or the warden’s written
order articulating a reasonable basis to believe that the correspondence
threatens the safety or security of the facility, another person, or the
public.

(i) The warden’s written order shall state the specific facts and
reasons supporting the determination.

(ii) The affected prisoner shall be given written notification of the
determination and the specific facts and reasons supporting
it. The warden may delay notifying the prisoner only for so
long as such notification would endanger the safety and

28
 

| |

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 30 of 40

(d)

(e)

(iii)

(iv)

security of the facility, after which the warden immediately
shall notify the prisoner.

A written record of correspondence read pursuant to this
paragraph shall be maintained and shall include: the name
of the prisoner, the name of the intended recipient, the name
of the reader, the date that the correspondence was read,
and the date that the prisoner received notification.

Any action taken pursuant to this paragraph shail be
completed within five business days of receipt of the
correspondence by the Department.

(7) Outgoing prisoner privileged correspondence shall not be opened or read
except pursuant to a lawful search warrant.

Incoming correspondence.

(1) incoming correspondence shall be delivered to the intended prisoner
within 48 hours of receipt by the Department unless the prisoner is no
longer in custody of the Department.

(2) A list of items that may be received in correspondence shall be
established by the Department. Upon admission to a facility, prisoners
shall be provided a copy of this list or it shall be posted in each housing

area.

Inspection of incoming correspondence.

(1) Incoming prisoner non-privileged correspondence

(a)

shall not be opened except in the presence of the intended
prisoner or pursuant to a lawful search warrant or the warden’s
written order articulating a reasonable basis to believe that the
correspondence threatens the safety or security of the facility,
another person, or the public.

(i)

(il)

The warden’s written order shall state the specific facts and
reasons supporting the determination.

The affected prisoner and sender shall be given written
notification of the warden’s determination and the specific
facts and reasons supporting it. The warden may delay
notifying the prisoner and the sender only for so long as
such notification would endanger the safety or security of the
facility, after which the warden immediately shall notify the
prisoner and sender.

29
 

(f)

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page

(2)

(3)

 

(iii) A written record of correspondence read pursuant to this
subdivision shall be maintained and shall include: the name
of the sender, the name of the intended prisoner recipient,
the name of the reader, the date that the correspondence
was received and was read, and the date that the prisoner
and sender received notification.

(iv) | Any action taken pursuant to this subdivision shall be
completed within five business days of receipt of the
correspondence by the Department.

(b) shall not be read except pursuant to a lawful search warrant or the
warden’s written order articulating a reasonable basis to believe
that the correspondence threatens the safety or security of the
facility, another person, or the public. Procedures for the warden’s
written order pursuant to this subdivision are set forth in paragraph
(1) of this subdivision.

Incoming correspondence may be manipulated or inspected without
opening, and subjected to any non-intrusive devices. A letter may be held
for an extra 24 hours pending resolution of a search warrant application.

Incoming privileged correspondence shall not be opened except in the
presence of the recipient prisoner or pursuant to a lawful search warrant.
incoming privileged correspondence shail not be read except pursuant to
a lawful search warrant.

Prohibited items in incoming correspondence.

(1)

(2)

(3)

When an item found in incoming correspondence involves a criminal
offense, it may be forwarded to the appropriate authority for possible
criminal prosecution. In such situations, the notice required by
paragraph (3) of this subdivision may be delayed if necessary to prevent
interference with an ongoing criminal investigation.

A prohibited item found in incoming prisoner correspondence that does
not involve a criminal offense shall be returned fo the sender, donated or
destroyed, as the prisoner wishes.

Within 24 hours of the removal of an item, the Board and the intended
prisoner shall be sent written notification of this action. This written notice
shall include:

(i) the name and address of the sender;

(it) the item removed;

(iil) | the reasons for removal;

(iv) the choice provided by paragraph (2) of this subdivision; and
(v) the appeal procedure.

30

310f40

 
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 32 of 40

(g)

 

(4) — After removal of an item, the incoming correspondence shall be forwarded
to the intended prisoner.

Appeal.

Any person affected by the determination to remove an item from prisoner
correspondence may appeal such determination to the Board.

(1) The person affected by the determination shall give notice in writing to the
Board and to the Department of his or her intent to appeal the
determination.

(2) The Department and any person affected by the determination may submit
to the Board for its consideration any relevant material in addition to the
written determination.

(3) The Board or its designee shail issue a written decision upon the appeal
within 14 business days after receiving notice of the requested review.

§ 1-12 Packages.

(a)

(b)

(c)

(d)

Policy.

Prisoners shall be permitted to receive packages from, and send packages to,
any person, except when there is reasonable belief that limitation is necessary to
protect public safety or maintain facility order and security.

Number.

The Department may impose reasonable restrictions on the number of packages
sent or received.

Outgoing packages.

The costs incurred in sending outgoing packages shall be borne by the prisoner.

Incoming packages.

(1) incoming packages shall be delivered within 48 hours of receipt by the
Department, unless the intended prisoner is no longer in custody of the
Department.

(2) Packages may be personally delivered to a facility during visiting hours.

(3) Upon admission to a facility, prisoners shall be provided with a copy of a

list of items that may be received in packages or this list or it shall be
posted in each housing area.

31

 
 

Case 1:11-cv-04952-PKC-KNE Document 145-3 Filed 05/03/13 Page 33 of 40

©)

(f)

(g)

Inspection of incoming packages.

(1)
(2)

incoming packages may be opened and inspected.

Correspondence enclosed in incoming packages may not be opened or
read except pursuant to the procedures set forth in subdivision (e) of
§1-11.

Prohibited items in incoming packages.

(1) | When an item found in an incoming package involves a criminal offense, it
may be forwarded to the appropriate authority for possible criminal
prosecution. In such situations, the notice required by paragraph (3) of this
subdivision may be delayed if necessary to prevent interference with an
ongoing criminal investigation.

(2) A prohibited item found in an incoming package that does not involve a
criminal offense shall be returned to the sender, donated or destroyed, as
the prisoner wishes.

(3) Within 24 hours of the removal of an item, the Board and the intended
prisoner shall be sent written notification of this action. This written notice
shall include:

(i) the name and address of the sender;

(ii) the item removed;

(iii) | the reasons for removal;

(iv) the choice provided by paragraph (2) of this subdivision; and
(v) the appeal procedure.

(4) After removal of an item, all other items in the package shall be forwarded
to the intended prisoner.

Appeal.

Any person affected by the determination to remove an item from an incoming
package may appeal such determination to the Board.

(1)

(2)

(3)

The person affected by the determination shall give notice in writing to the
Board and to the Department of his or her intent to appeal the
determination.

The Department and any person affected by the determination may submit
to the Board for its consideration any relevant material in addition to the
written determination.

The Board or its designee shall issue a written decision upon the appeal
within 14 business days after receiving notice of the requested review.

32
 

 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 34 of 40.

§ 1-13 Publications.

(a)

(b)

(c)

(d)

Policy.

Prisoners are entitled to receive new or used publications from any source,
including family, friends and publishers, except when there is substantial belief
that limitation is necessary to protect public safety or maintain facility order and
security. "Publications" are printed materials including soft and hardcover books,
articles, magazines and newspapers.

Number and language.

There shall be no restriction upon the receipt of publications based upon the
number of publications previously received by the prisoner, or the language of
the publication.

Incoming publications.

(1) Incoming publications shall be delivered to the intended prisoner within
48 hours of receipt by the Department unless the prisoner is no longer in
custody of the Department.

(2) Incoming publications may be opened and inspected pursuant to the
procedures applicable to incoming packages.

(3) Incoming publications shall not be censored or delayed unless they
contain specific instructions on the manufacture or use of dangerous
weapons or explosives, plans for escape, or other material that may
compromise the safety and security of the facility.

(4) Incoming publications shall only be read to ascertain if they contain
material prohibited by paragraph (3) of this subdivision.

(5) Within 24 hours of a decision to censor or delay all or part of an incoming
publication, the Board and the intended prisoner shall be sent written
notification of such action. This notice shall include the specific facts and
reasons underlying the determination and the appeal procedure.

Appeal.

Any person affected by a determination made pursuant to paragraph (c) (3) of
this section may appeal such determination to the Board.

(1) | The person affected by the determination shall give notice in writing to the
Board and the Department of his or her intent to appeal the determination.

33
 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 35 of 40

(2)

(3)

The Department and any person affected by the determination may submit
to the Board for its consideration any relevant material in addition to the
written determination.

The Board or its designee shall issue a written decision upon the appeal
within five business days after receiving notice of the requested review.

§ 1-14 Access to Media.

(a)

(b)

Policy.

Prisoners are entitled to access to the media. "Media" means any printed or
electronic means of conveying information to any portion of the public and shall
include, but is not limited to newspapers, magazines, books or other publications,
and licensed radio and television stations.

Media interviews

(1)

(2)

(3)

(4)

(5)

Properly identified media representatives shall be entitled to interview any
prisoner who consents to such an interview. "Properly identified media
representative" means any person who presents proof of his or her
affiliation with the media.

The prisoner's consent must be in writing on a form that includes the
following information in Spanish and English:

(i) the name and organization of the media representative;

(ii) notification to the prisoner that statements made to the media
representative may be detrimental to the prisoner in future
administrative or judicial proceedings;

(iii) notification to the prisoner that he or she is not obligated to speak
to the media representative; and

(iv) notification to the prisoner that he or she may postpone the media
interview in order to consult with an attorney or any other person.

The Department may require the consent of an attorney of record prior to
scheduling a media interview with a detainee undergoing examination for
competency pursuant to court order.

The Department may require the consent of an attorney of record or a
parent or legal guardian prior to scheduling a media interview with a
prisoner under 18 years of age.

The name of the Department's media contact shall be published. Media
representatives shall direct requests for interviews to this person.

34
 

 

‘Case 1:1

(6) Interviews shall be scheduled promptly by the Department but not later
than 24 hours from a request made between 8 a.m. and 4 p.m. The 24-
hour period may be extended if necessitated by the prisoner's absence
from the facility.

(c) Limitation of media interviews.

(1) | The Department may deny, revoke or limit a media interview with a media
representative or a prisoner only if it is determined that such interview
constitutes a threat to the safety or security of the facility.

(2) This determination must be based on specific acts committed by the
media representative or by the prisoner during a prior visit that
demonstrate his or her threat to the safety and security of the facility. Prior
to any determination, the media representative or the prisoner must be
provided with written notification of the specific charges and the names
and statements of the charging parties, and be afforded an opportunity to
respond.

(3) Any determination made pursuant to paragraph (1) of this subdivision shall
be made in writing and shall state the specific facts and reasons
underlying such determination. A copy of this determination, including the
appeal procedure, shall be sent to the Board and to any person affected
by the determination within 24 hours of the determination.

(4) Any person affected by a determination made pursuant to this subdivision
may appeal such determination to the Board.

(i) The person affected by the determination shall give notice in writing
to the Board and to the Department of his or her intent to appeal
the determination.

) The Department and any person affected by the determination may
submit to the Board for its consideration any relevant material in
addition to the written determination.

(iii) | The Board or its designee shail issue a written decision upon the
appeal within five business days after it has received notice of the
requested review.

§ 1-15 Variances.
(a) Policy.
The Department may apply for a variance from a specific subdivision or section

of these minimum standards when compliance cannot be achieved or continued.
A “limited variance" is an exemption granted by the Board from full compliance

35

1-cv-04952-PKC-KNE Document 145-3 Filed 05/03/13 Page 36 of40
 

 

] |

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 37 of 40

with a particular subdivision or section for a specified period of time. A
"continuing variance" is an exemption granted by the Board from full compliance
with a particular subdivision or section for an indefinite period of time. An
“emergency variance” as defined in paragraph (b)(3) of this section is an
exemption granted by the Board from full compliance with a particular subdivision
or section for no more than 30 days.

(b) Limited, continuing and emergency variances.

(1)

(2)

(3)

The Department may apply to the Board for a variance when:

(i) despite its best efforts, and the best efforts of other New York City
officials and agencies, full compliance with the subdivision or
section cannot be achieved, or

(ii) compliance is to be achieved for a limited period in a manner other
than specified in the subdivision or section.

The Department may apply to the Board for a continuing variance when,
despite its best efforts and the best efforts of other New York City officials
and agencies, compliance cannot be achieved in the foreseeable future
because:

(t) full compliance with a specific subdivision or section would create
extreme practical difficulties as a result of circumstances unique to
a particular facility, and lack of full compliance would not create a
danger or undue hardship to staff or prisoners; or

(ii) compliance is to be achieved in an alternative manner sufficient to
meet the intent of the subdivision or section.

The Department may apply to the Board for an emergency variance when
an emergency situation prevents continued compliance with the
subdivision or section. An emergency variance for a period of less than
24 hours may be declared by the Department when an emergency
situation prevents continued compliance with a particular subdivision or
section. The Board or its designee shall be immediately notified of the
emergency situation and the variance declaration.

(c) Variance application.

(1)

An application for a variance must be made in writing to the Board by the
Commissioner of the Department as soon as a determination is made that
continued compliance will not be possible and shall state:

(i) the type of variance requested;

(ii) the particular subdivision or section at issue;

36
 

so]

Case 1:11-cv-04952-PKC-KNE Document 145-3 Filed 05/03/13 Page 38 of 40

(2)

(3)

(iii)
(iv)

(v)

(vii)

(viii)

the requested commencement date of the variance;

the efforts undertaken by the Department to achieve compliance by
the effective date;

the specific facts or reasons making full compliance impossible,
and when those facis and reasons became apparent;

the specific plans, projections and timetables for achieving full
compliance;

the specific plans for serving the purpose of the subdivision or
section for the period that strict compliance is not possible; and

if the application is for a limited variance, the time period for which —
the variance is requested, provided that this shall be no more than
six months.

In addition to the provisions of paragraph (1) of this subdivision, an
application for a continuing variance shail state:

(i)

(iii)

the specific facts and reasons underlying the impracticability or
impossibility of compliance within the foreseeable future, and when
those facts and reasons become apparent, and

the degree of compliance achieved, and the Department's efforts to
mitigate any possible danger or hardships attributable to the lack of
full compliance; or

a description of the specific plans for achieving compliance in an
alternative manner sufficient to meet the intent of the subdivision or
section.

In addition to the requirements of paragraph (1) of this subdivision, an
application for an emergency variance for a period of 24 hours or more
(or for renewal of an emergency variance), shall state:

(i)

the particular subdivision or section at issue;

the specific facts or reasons making continued compliance
impossible, and when those facts and reasons became apparent;

the specific plans, projections and timetables for achieving full
compliance; and

the time period for which the variance is requested, provided that
this shall be no more than thirty days.

37

 
 

 

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 39 of 40

(d)

(e)

(?)

Variance procedure for limited and continuing variance.

(1)

(2)

(3)
(4)

Prior to a decision on an application for a limited or continuing variance,
the Board shall consider the position of all interested parties, including
correctional employees, prisoners and their representatives, other public
officials and legal, religious and community organizations.

Whenever practicable, the Board shail hold a public meeting or hearing on
the variance application, and hear testimony from all interested parties.

The Board's decision on a variance application shall be in writing.

Interested parties shall be notified of the Board's decision as soon as
practicable, and no later than 5 business days after the decision is made.

Granting of variance.

(1)

(2)

The Board shall grant a variance only if it is presented with convincing
evidence that the variance is necessary and justified.

Upon granting a variance, the Board shall state:

(i) the type of variance

(ii) the date on which the variance will commence

(iii) | the time period of the variance, if any, and

(iv) any requirements imposed as conditions on the variance.

Renewal and review of variance.

(1)

(2)

An application for a renewal of a limited or emergency variance shall be
treated in the same manner as an original application as provided in
subdivisions (b), (c), (d) and (e) of this section. The Board shall not

grant renewal of a variance unless it finds that, in addition to the
requirements for approving an original application, a good faith effort has
been made to comply with the subdivision or section within the previously
orescribed time limitation, and that the requirements set by the Board as
conditions on the original variance have been met.

A petition for review of a continuing variance may be made upon the
Board's own motion or by the Department, correctional employees,
prisoners or their representatives. Upon receipt of a petition, the Board
shall review and re-evaluate the continuing necessity and justification for
the continuing variance. Such review shall be conducted in the same
manner as the original application as provided in subdivisions (b), (c), (d)

- and (e) of this section. The Board will review all the facts and consider the

positions of all interested parties. The Board will discontinue the variance,
if after such review and consideration, it determines that:

38

 
 

i

Case 1:11-cv-04952-PKC-KNF Document 145-3 Filed 05/03/13 Page 40 of 40

(3)

(4)

(i) full compliance with the standard now can be achieved; or

(ii) requirements imposed as conditions upon which the continuing
variance was granted have not been fulfilled or maintained; or

(iii) | there is no longer compliance with the intent of the subdivision or
section in an alternative manner as required by subparagraph (b)
(2) (ii) of this section.

The Board shall specify in writing and publicize the facts and reasons for
its decision on an application for renewal or review of a variance. The
Board's decision must comply with the requirements of subdivision (e) of
this section, and, in the case of limited and continuing variances,
paragraphs (d) (3) and (4) of this section. Where appropriate, the Board
shall set an effective date for discontinuance of a continuing variance
after consultation with all interested parties.

The Board shall not grant more than two consecutive renewals of
emergency variances.

Effective date: June 16, 2008
Hildy J. Simmons

Chair

39

 
